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CONSENT TO SUE

By my signature below, I hereby authorize the filing and prosecution of claims in my name and
on my behalf to contest the failure of my employer, Pure Energy Gas Station and Sonomax Gas
Station, and its owners and affiliates to pay me, inter alia, wages as required under state and/or
federal law and also authorize the filing of this consent in the lawsuit challenging such conduct,
and consent to being named as a representative plaintiff in this action to make decisions on behalf
of all other plaintiffs concerning all aspects of this lawsuit. I have been provided with a copy of a
retainer agreement with the law firm of Levin-Epstein & Associates, P.C., and I agree to be bound
by its terms.

THAN BRYAN

Beers

